 

Case 1:19-cv-03662-UNA Document 3

CARY LEE PETERSONBOP REGID: 23401111
SENATE LOBBY ID: 401103650

HOUSE LOBBY ID: 42916

FCI SHERIDAN CAMP

P.O. BOX 6000, U-5

SHERIDAN, OR 97378

ATTENTION TO:

CLERK OF COURT

U.S., DISTRICT COURT FOR THE D.C. DISTRICT
E. BARRETT PRETTYMAN U.S. COURTHOUSE
333 CONSTITUTION AVE NW, ROOM 20001

Filed 12/02/19 Page 1 of 27

 

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DEC ~ 2 2019

 

 

Angela D. Caesar, Clerk of Court
US. District Court, District of Columbia
“eel

 

NOVEMBER 19, 2019

Case: 1:19-cv—03662 Jury Demand
Assigned To : Unassigned

Assign. Date : 12/2/2019

Description: Pro Se Gen. Civil (F Deck)

 

IN RE: CARY LEE PETERSON, ET AL. V. FOSTER GARVEY P.C., ET AL. --- CERTIFICATION OF (EXPEDITED)
APPLICATION FOR THREE-JUDGE COURT PURSUANT TO LCvR 9.1 and 28 U.S.C. 2284; AND JUDICIAL
NOTICE OF ADJUDICATIVE FACTS PURSUANT TO FED. R. EVID. P. 201

 

Dear Court Clerk:

|, Cary Lee Peterson ("Plaintiff"; Pro Se], a political prisoner at FCl Sheridan, Oregon, who is a lobbying
registrant for the Congress pursuant to the foregoing, certify and submit this informal letter brief in lieu
of a formal court motion ("Letter Brief"], in efforts to respectfully move the court on (Expedited)

Application for Three-Judge Court for the instant case, pursuant to LCvR 9.1 and 28 U.S.C. 2284.

Further, Plaintiff makes notice to the court that [this] Letter Brief is submitted for an addition purpose,
in conjunction with being an application for a three-judge court, whereby shall be submitted as Judicial
Notice of Adjudicative Facts for public interest and interest of justice, to be used as Accelerated

Discovery for the instant case or Related Cases held at the respective tribunals aforementioned in

 
 

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section 11 of Plaintiff's Complaint, or other federal, local, foreign, or international tribunals with

particular interest of the legal matter of [this] Complaint.

1. AD HOC, (as formerly disclosed in initial filing of Complaint) the instant case involves an issue in an
extraordinary and unusual controversy and multidistrict litigation(s), among Plaintiff, 163 prospective
co-plaintiffs and 38 co-defendants, influenced by the news media, public figures, and political
influence(s) of the Congress, pursuant to 2 U.S.C. 288g(b), and other disclosure known to the court; i.e.,
Plaintiff's initial filing of Complaint for the instant case; also, see Peterson v. Garvey, et al., C.A. No.
14649-BRM (3rd Cir. U.S.D.N.J.), ECF Doc. No. 15 [court filing entitled: “Plaintiff's Comprehensive

Complaint"; also view this document at http://shorturl.at/uzBMW].

2. ADDITIONALLY, Plaintiff's Complaint and Related Cases are particular interests of Federal

departments, agencies, officials, or committees pursuant to Section 11 of Complaint.

3. IN ADDITION, Plaintiff's Complaint (and Addendum | of Complaint) involves two (2) recusals and
reassignments of two district court judges in the New Jersey District, administrative actions at the
Department of Justice (i.e., OIP, OPR, OUSPA), and two (2) judicial misconduct complaints at the
Chamber of Chief Judge for the U.S. Court of Appeals for the Ninth Circuit (in correlation with legal
matters induced district judges for New Jersey District; one subject judge, whereby was recasted by

Chief Judge Wolfson).

 
 

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4. WHEREFORE, the instant case's extremely unusual and extraordinary circumstance involving
Plaintiff's [reiterated] disclosure of allegations and supporting discovery on (pursuant to, but not limited
to digital discovery at 'www.gotchaevidence.com' and Plaintiff's disclosure and exhibits of Related

Cases)--

1) malfeasance, 2) stonewalling, 3) abuse of discretion, 4) judicial estoppels, 5) equitable
estoppels, 6) abuse of process, 7) collateral estoppels, 8) obstruction of justice, 9) appearance of
impropriety, 10) interference of the administration of justice, 11) prosecutorial misconduct, 12) arbitrary
arrest and private prosecution (in conjunction with cruel and unusual punishment, kidnapping
attempt(s) (under 18 U.S.C. 1201(d), and (e)) and torture, 13) malicious prosecution, 14) due process
violations, 15) miscarriage of justice, 16) tactical maneuvering, 17) virtual representations, 18)
conflicting or third-degree of relationship pursuant to 28 U.S.C. 455, 19) financial and political and
personal conflicts of interest pursuant to 28 U.S.C. 528, 20) duress and conspiracy pursuant to N.J.
Statute 2C:5-2 and N.J.S.C. RPC 3.4(g), 21) nondirection (by the district courts of Related Cases), and 22)
over one hundred (100) plain and clerical and manifest errors known to the court, since on or about

3/10/2016--

5. AD HOC, "clare constat" that there is a substantial question of fact or law on whether or not
Defendants disserved the United States, by commissioning or soliciting ultra hazardous activity, by
declaring and fabricating(false-swearing), manufacturing, publishing, or transmitting false information
and hoaxes pursuant to 18 U.S.C. 1038, in efforts to compel the United States (i.e., agencies,
departments, the Judicial Branch, and the public, whom jurors are among) to unknowingly partake and

aid or abet a malicious, egregious, and private prosecution against an individual-- whom public and

 
 

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court records would confirm (under Fed. R. Evid. P. 902 and 903), as self-authenticated and cumulative
evidence-- that [Plaintiff Cary Lee Peterson] was [in fact] an internationally protected person and
member of a foreign mission and one or more international organizations pursuant to 18 U.S.C.
1116(b)(4)(B) and 1116(b)(5), and 22 U.S.C. 254a and 254b, and 22 U.S.C. 4301-4309, and was a lobbying
registrant for the Congress pursuant to 2 U.S.C. 1602-1611, and had worked for an elected government
official or federal election candidate or political party or federal election campaign committee, and was
a federal election candidate in the U.S. territory of Guam [himself] under a registered political party,
whereby are (collectively) federally protected activities pursuant to 18 U.S.C. 245(b) and civilian rights

guaranteed by the First Amendment of the U.S. Constitution.

(a) In addition, "clare constat" that there have been one or more violations for 5 U.S.C. 552 (FOIA
Act; Privacy Act) pursuant to the aforementioned administrative actions at Department of Justice (Office
of Information Policy) disclosed in Section 11 of Plaintiff's Complaint, which corroborate Plaintiff's
allegations and supporting evidence on violations of the 163 co-plaintiffs confidentiality and privacy
rights under FOIA Act, which was conspired, aided and abetted or induced by Co-defendant FINRA,
whom insecurely and illegally provided the purported Blue Sheet Data, containing 163 government
issued tax identification numbers (i.e. SSN, EIN, ITIN), (investment) bank account numbers, banking
transaction history, and personal contact information, to the Department of Justice in New Jersey and
elsewhere, without duly transmitting the highly confidential and personal data under the FOIA Act via
court order (i.e., duces tecum subpoena; or Fed. R. Crim. P. 12.4 for Organizational Victims) or privacy
waiver(s) from the respective financial institution or the financial institution account holders (whom
consist of the 163 "Doe" and "ABC Organizations" co-plaintiffs of the instant case) [see Blue Sheet Data;

digital discovery reference at 'http://shorturl.at/ceOw6';
 

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(1) also, see full court transcript from U.S. v. Peterson sentencing hearing on 12/20/2018, where
Plaintiff Peterson raised this issue to the court, proffered the derivative evidence to the court for judicial
review and made disclosure pursuant to this Complaint, and disclosed that he sent copies to the
government and Supreme Court, in efforts to obtain protection and relief from criminal or civil liability
for the 163 exposed victims, himself, and other unauthorized persons who came into contact with the
purported FINRA Blue Sheet Data declared before the court by FINRA employee Deborah Oremland on

or about 11/1/2018]--

(2) whereby were all exposed to irreparable harm and damage via identity theft or other misuse
or criminal activity involved their personal and confidential data that had been leaked into the New
Jersey Department of Corrections and elsewhere, pursuant to disclosure made under oath by Plaintiff
Peterson on 12/20/2018 at trial court in Trenton, New Jersey, and supporting exhibits filed with the
district court on 12/20/2018 {i.e., U.S. v. Cary Lee Peterson, (3rd Cir. U.S., N.J. 2016, ECF Doc. No. 153-1),
and submitted to the offices of the Secret Service, U.S. Supreme Court, and U.S. Attorney General via

certified mail courier on or about 12/26/2018.

(3) AND, pursuant to legal papers under '902 Evidence’ published at
'www.gotchaevidence.com’, the tracking numbers of these legal submission were filed with the court
and government, also. Also see news reference at 'http://shorturl.at/cjzZ' pursuant to Fed. R. Evid. P.

902 (news article entitled, "Fed Judge Helps U.S. Attorney Leak Bank Records into New Jersey Jail").
 

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(b) THUS, Plaintiff Peterson enjoyed the prerogative, privilege, or immunity participating or
working as a federal election candidate, federal election campaign committee administrator, senior
personnel or one or more federal election candidates, personnel to one or more elected government
official in the U.S. or a trust territory of the U.S., a member of a foreign mission, and a representative of
one or more international organizations between 2010 and 2018-- whereby, he enjoyed or exercised his
First Amendment rights of freedom of political speech and expression, and other (work-related)
diplomatic or governmental or federal or legislative privilege(s) or immunity, in efforts to conduct
international or political or legislative affairs enable treaties or other agreements for international
diplomacy or intergovernmental affairs, under international law (i.e., U.S. Const., Article VI, Clause 2 -
Supreme law; Vienna Convention; 48 U.S.C. 1901 et seq., Compact of Free Association for Micronesia),
as an instrument through or by which two or more foreign governments engage in some aspect of their
conduct of international affairs pursuant to the International Organization Immunities Act (22 U.S.C.
288); inclusive of free-speech rights of public communication for federal elections and committees

pursuant to 52 U.S.C. 30101.

6. AD HOC, "res ipsaloquitur" (pursuant to Restatement (Second) of Torts 328D(1)), that a three-judge
panel is required in order to effectively, efficiently, and expeditiously adjudication the legal matter(s) of

Plaintiff's Complaint, in the proper jurisdiction and venue (being the D.C. Circuit)—

(a) notwithstanding the pending, estopped, or ‘administratively closed’ Related Cases, whereby the
court has failed to meet its burden as a business of the Judicial Branch, pursuant to "Pars Judicis", to
‘expeditiously, effectively, and efficiently’ adjudicate and obtain finality and judgment on matters of the

court.
 

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7. WHEREAS, if the court makes finding of a judicial disability pursuant to Fed. R. Civ. P. 63, that
would preclude or enjoin the formation of 'Three-Judge Court’ or impartial trial court proceedings (in
general) for the instant case, Plaintiff Peterson respectfully requests the court (alternatively) issues an
Order of Recommendation for legal proceedings of Complaint to be remanded to the Congress, Circuit

Court, or Supreme Court for as an inquiry for review or final adjudication.

THEREBY, Plaintiff Cary Lee Peterson submit [this] Letter Brief in lieu of oath and declare under penalty

of perjury under the laws of the United States of America that the foregoing is true and correct.

Respectfully submitted,

s/ pate. 11/19/2019

 

Cary Lee Peterson - PLAINTIFF

cc: [ALL PARTIES AND TRIBUNALS OF THE INSTANT CASE AND RELATED CASES); U.S. Attorney Jessie
Liu; Hon. Chief Judge Leonard P. Stark (In re: Peterson v. RVPlus, Inc., et al., C.A. No. 1:18-cv-00704-LPS);
Eric J. Marcy, Esq. - Wilentz; Chairman Sen. Isakson - Senate Select Committee on Ethics (In re:
Reexamination on Petition for Censure Inquiry on Sen. Bernard Sanders; Cary Lee Peterson, Senate
Lobby ID: 401103650); and Senate Secretary Julie Adams; and Office of Senate Legal Counsel - U.S.
Senate; Chief of Justice; and Attorney General - FSM Department of Justice; [U.S. Secretary of State];
April Tabor — Federal Trade Commission; Marik A. String — State Department
 

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URGENT: Leaked Blue Sheets in New Jersey Prison by USAO-NJ 12/20/18

To: whistleblower@finra.org Info

 

Article: https://www.emediaworld.com/politics/civil-rights-lobbyist-sues-attorney-of-u-s-senator-from-new-england-for-allegqed-
conspiracy-and-tort.html
 

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FW: Confidential Informtion Leaked by USAO-NJ-Blue Sheets Leaked 12/20/18
To: ransomm@sec.gov Info

To Whom This May Concern, Mara Ransom, or Jennifer Kuhl:
| have been advised to send the following links.

https://www.emediaworld.com/politics/civil-rights-lobbyist-sues-attorney-of-u-s-senator-from-new-england-for-alleqed-conspiracy-and-
tort.html. Please refer to Paragraph "Bernie in Trouble" references to complaint filed by Mr. Peterson.

This is in regards to Blue Sheets with Social Security Numbers, Bank Account numbers, trading account numbers, home addresses, and
phone numbers leaked in a New Jersey jail.

Mr. Peterson has asked that this imperative information is forwarded to you for immediate review due to urgent circumstances related
to court proceedings in US District Court of New Jersey today at 3 PM before Sr. Judge Ann Thompson, USA v. Peterson, 3:16-CR-230.
Please see the following link to YouTube Audio - https://youtu.be/NQBGAeAbOoQ

The above link is related to the aforesaid criminal case also related to 3:18-14649 which is the unofficial counter-suit to Fishman’s USA v.
Peterson suit. Unofficial counter-suit being Peterson v. Garvey, Doe, and now former USA Fishman.

Additionally, Peterson wants to address the extreme disservice to the public due to the leakage of highly confidential and vital
information of almost 200 account holders on Blue Sheets that were manufactured and interpolated by USAO-NJ and AUSA Fonteccio
and Trotter in attempt to enhance sentencing on frivolous charges following a trial by ambush in May 2018 in retaliation for ulterior
motives commissioned by Fishman acting for his uncle Senator Bernie Sanders who is third degree relationship with S. Paul Fishman Sr.
both from Brooklyn, NY. Thus the malicious prosecution against Peterson is merely a vendetta and Peterson has filed the counter-suit
against Garvey due to the discovery of the leaked email.

Now, delete Blue Sheets circulate within the Monmouth County Jail where Peterson is held, and you will see from the Garvey case that
there are obstruction and mail tampering issues that were reported to the court and evidence provided in the Garvey case in recent
filings. This increases the exposure to irreparable harm and damage and disservice to public interest.

In addition, Peterson feels that beyond the scope of duties of the AUSA and the US Attorney's Office of New Jersey, this matter should be
sealed from the public and these Blue Sheets should be immediately struck from the record as they are a violation to the chain of
custody received from FINRA rather than the SEC and viewed in the presence of the judge chambers, SEC or FBI Inspector which was
never done.

Mr. Peterson has made arrangements for copies of these Blue Sheets to be sent to the proper authorities, Acting US Attorney General
Whitaker's office, Inspector Rhianna Barrett, New Jersey Attorney General Grewal who currently holds the complaint for conspiracy
duress and culpability on Brad Deutch and John Doe pending arrest as I'm told by sources, and the New Jersey Supreme Court Attorney
Ethics Committee Director also possessing complaints from Peterson regarding the US Attorney of New Jersey.

Please review the aforesaid information and contact Mr. Peterson, his counsel Eric Marcy, his other legal counsel former SEC Director
Merit Cole or myself his Limited Power of Attorney for personal matters.

Note: This information from FINRA and Ms. Debra Oreilum who signed an affidavit attesting to these improperly used Blue Sheets. This
raises a concern as Mr. Peterson does not believe that FINRA is aware of the improper use of this data nor are the individuals listed on
the Blue Sheets or the securities brokerage firms aware of improper use of this confidential and vital data used in the court of law that
are passed through multiple hands that are not judicial officers or attorneys but merely corrections officers who tampered with and
obstructed Mr. Peterson's mail in efforts to cause harm and damage and tort to Mr. Peterson related to the dispute with former US
Attorney Fishman.

Regards,

Cary Lee Peterson

Power of Attorney

(Name Sealed Pursuant to Document 6 & 7 of Peterson v. Garvey case)
 

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From Cary Lee Peterson Senate Lobby ID No: 401103650 RE: 50USC1701 12/27/18
To: efilingsupport@supremecourt.gov, WebInformation@cadc.uscourts.gov Info

Show Attachments

RE: State of Emergency Notice Pursuant to 50 USC 1701 — FINRA Blue Sheets Bank Leak Epidemic in
NJ Dept of Corrections; Violation of 18 USC 4 & 5 USC 552 ("Blue Sheets Bank Leak Crisis” or BSBL)

Dear Mr. President,

| submit this notice national threat under urgent status. Please excuse my informal submission. Thus,
an audio recording of my report has been produced and will be transmitted to the White House, Secret
Service, The Supreme Court, and Office of Attorney General via email from
CaryLeePeterson@mail.com, an email address accessed by my Power of Attorney Agents; also on
record with US Court and Department of Justice File # DOJ-AP-2019-0001 76.

Please review the audio report and thank you for your attention on this urgent matter.

Respectfully submitted,

Cary Lee Peterson Senate Lobby ID No: 401103650
Date of Birth: April 6, 1980

Monmouth County Correctional Institute Inmate# 576393
YouTube Audio - https://youtu.be/NQBGAeAbO0Q

Ref: Call John Mahdessian
 

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URGENT: Leaked Blue Sheets in New Jersey Prison by USAO-NJ 12/30/18
To: whistleblower@finra.org Info
Show Attachments

Attached you will find a sanitized version of the Blue Sheets leaked to a New Jersey Corrections Facility.
Below are articles regarding the Blue Sheets Leak Crisis.
1. https://www.emediaworld.com/feature/fed-judge-helps-u-s-attorney-leak-bank-records-into-n-j-prison.html

2. https://emwnews.com/fed-judge-helps-u-s-attorney-leak-bank-records-into-n-j-prison

 

Article: https://www.emediaworld.com/politics/civil-rights-lobbyist-sues-attorney-of-u-s-senator-from-new-england-for-alleged-
conspiracy-and-tort.html

 
 

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Fwd: Re: ATTN: Attny. Rhianna Barrett RE: DOJ-AP-2019-000176 Peterson v. Garvey - Sanders (Article o... 12/30/18
To: DOJ.OIP FOIA@usdoj.GOV Info
Show Attachments

Dear Ms. Barrett,

Please see attached for information updated on 12/28/2018 Pre-sentence Investigation Report, docket item 28 pertaining to the SEC v
RVPlus case, and docket item 154 pertaining to USA v Peterson case.

See link for audio file. https://youtu.be/A3le5S7QZNk “State of Emergency Notice Pursuant to 50 USC 1701 —- FINRA Blue Sheets Bank
Leak Epidemic in NJ Dept of Corrections; Violation of 18 USC 4 & 5 USC 552 (“Blue Sheets Bank Leak Crisis” or BSBL’).

Articles related to Mr. Peterson's cases:

e https://www.emediaworld.com/feature/fed-judge-helps-u-s-attorney-leak-bank-records-into-n-j-prison.html
e https://emwnews.com/fed-judge-helps-u-s-attorney-leak-bank-records-into-n-j-prison/

Thank you.

Forwarded email

> From: "Peterson, Cary Lee” <caryleepeterson@mail.com>

> Date: December 10, 2018 at 10:45 AM

> To: DOJ.OIP FOIA@usdoj.GOV

> Subject: Re: ATTN: Attny. Rhianna Barrett RE: DOJ-AP-2019-000176 Peterson v. Garvey - Sanders (Article on conspiracy)

>

> Dear Ms. Barrett,

>

> Attached is part 1 of the updated transcriptions for the Garvey case. Mr. Peterson left you a voicemail with an explanation.

>

> Thank you,

> Linette Andrade

>

> On 12/10/18 at 12:50 AM, Peterson, Cary Lee wrote:

>

> > Dear Ms. Barrett,

>>

> > RE: DOJ-AP-2019-0001 76 - Cary Lee Peterson

>>

> > Mr. Peterson has asked that | forward this to you for the record. He will contact you this week by phone with more details regarding
how this information correlates with the DOJ complaint with your office and his criminal case, U.S. v. Peterson and Peterson v. Garvey.
>>

> > Thank you,

> > Linette Andrade

> > (408)709-0295

>>

>>

>>

> > Here is the update on Cary's legal matters including the recent article on the Bernie Sanders Scandal.

> > NOW The combined number of article views is almost equal to the total population of Trenton, New Jersey and will likely be greater
by tomorrow morning. This is Public interest to say the least.

>>

> > Article 1

> > VIEWS: 27030 Dec 7th

> > NOW 45,153

> > httns://www emediaworld com/nolitics/civil-rinhts-lohhvist-sues-attornev-of-t-s-senator-from-new-enoland-for-alleaed-consniracy-
 

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Fwd: [Privileged & Confidential] Fwd: FW: Klein, Herbert & KPD v Christopher Day [ES-LEGAL.FID209056... 11/4/19
From: Amanda Liu Info

Show Attachments

Tom Klein <tklein@BASBroadcasting.com> wrote:

Stu just checking in to see where we are with this filing...It's
my hope that the investigator is not spending too much time
tracking down or getting info on Cary...| believe we are all in
agreement he's a crook. | have a substantial amount of
information from Garvey Shubert the law firm that filed the
federal charges against him. Garvey Shubert's Erwin Krasnow
is our FCC attorney and as | understand it one of his
associates at Garvey Shubert filed the Federal charges
against Cary and Erwin is very familiar with our dealings with
Cary.

So just looking for an update...are we trying to follow the
Wells Fargo money to see where the distribution of Mikes
$300,000 actually went too? Or are we doing something
else...1 think the money trail will tell the story...Please let us
know... TK

Tom "TK" Klein President/CEO-Owner
BAS Broadcasting Ohio

WCPZ "Mix 102.7 FM", 50,000 Watt Hot Adult Contemporary (Sandusky, Lorain, Amherst, Medina, Norwalk, Port Clinton)
WFRO "Eagle 99 FM", 20,000 Watt Adult Contemporary (Fremont, Perrysburg, Sandusky, Port Clinton, Tiffin)

WOAHE "09 1 Tho Wilf" AANN Watt Clacecic Hite (Rallowioa Framnant Candiekw Maraaile\
Be
Gartner® SIEM Report 2018

See where RSA® stands among other SIEM
vendors’ solutions. Download the free report.
 

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RESTATEMENT OF TORTS (2D) §§ 552, 553, 559, 581

§ 552 Information Negligently Supplied for the Guidance of Others
(1) One who, in the course of his business, profession or employment, or in any other transaction in which he
has a pecuniary interest, supplies false information for the guidance of others in their business transactions, is
subject to liability for pecuniary loss caused to them by their justifiable reliance upon the information, if he fails to
exercise reasonable care or competence in obtaining or communicating the information.
(2) Except as stated in Subsection (3), the liability stated in Subsection (1) is limited to loss suffered
(a) by the person or one of a limited group of persons for whose benefit and guidance he intends to supply
the information or knows that the recipient intends to supply it; and
(b) through reliance upon it in a transaction that he intends the information to influence or knows that the
recipient so intends or in a substantially similar transaction.
(3) The liability of one who is under a public duty to give the information extends to loss suffered by any of
the class of persons for whose benefit the duty is created, in any of the transactions in which it is intended to protect
them.

§ 553. Fraudulent Misrepresentations Inducing Gifts to Maker or Third Persons

One who by a fraudulent misrepresentation, or by the nondisclosure of a fact which as between himself and
another it is his duty to disclose, intentionally induces the other to make a gift to him or to a third person is subject
to liability to the donor for the loss caused by the making of the gift.

§ 559 Defamatory Communication Defined
A communication is defamatory if it tends so to harm the reputation of another as to lower him in the
estimation of the community or to deter third persons from associating or dealing with him.

§ 581 Transmission of Defamation Published by Third Person

(1) Except as stated in subsection (2), one who only delivers or transmits defamatory matter published by a
third person is subject to liability if, but only if, he knows or has reason to know of its defamatory character.

(2) One who broadcasts defamatory matter by means of radio or television is subject to the same liability as an
original publisher.

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Fwd: Re: RE: Privileged & Confidential: Client-Attorney - Witnesses and other Issues 11/4/19
From: Amanda Liu Info

Show Attachments

Subject:Re: RE: Privileged & Confidential: Client-Attorney - Witnesses and other Issues
Date:2018-02-20 07:05 PM
From:"Peterson, Cary” <clpeterson@rpflegal.com>
To:"Marcy, Eric” <emarcy@wilentz.com>
Reply-To:clpeterson@rpflegal.com

Mr. Marcy,

My response to your email is below in orange highlights as follows:

[Cary]
On 2018-02-20 05:54 PM, Marcy, Eric wrote:

Dear Mr. Peterson,

I am not filing motions regarding Prosecutorial Misconduct, Bernie Sanders, or PACs. Do whatever you feel appropriate.
You are doing so against my advice.

Re: I never asked for you to file a motion regarding prosecutorial misconduct or selective prosecution. I asked to file a
motion for a judicial review of the grand jury proceedings to look for misconduct pursuant to case law references sent to
you in previous emails and attached to this email [again]. If the prosecutor mentions my work supporting [then] presidential
candidate Sen. Sanders, the Super PAC, and my current work as a lobbyist to leverage and influence the decision of the
jurors it is asked of the Court to consider dismissal for prosecutorial misconduct due to the USA-NJ's use of my political
background during an election year (right before Primary Election) to influence the jurors because the conflicting issues will
more than likely cause irrational decisions from each juror. If the prosecutor never mentions this during the grand jury
proceedings then "no dice". In addition, the transcripts from all court proceedings display all AUSAs using "Bernie Sanders”
and "Super PAC" talks to influence the decision of the Court rather than focusing on the charges of the case. This request is
very relevant and the fact align with the evidence supporting this, inclusive of the 404b Evidence, "KDP Email 10", also
attached to this email [again].

I don't care if you feel Zakari is a liar - that is not the point. You do not call witnesses to testify that you know will try to hurt
you. You have repeatedly confirmed simply to not call him as a witness.

 

Re: | have asked that you “pass” on Zakari prior to linking you with Nigerian Attorney, Shoda. | was optimistic to assist you talking with

Google Ads Official Site ae

Over 1 million businesses rely on Google Ads. See
how Google Ads can work for you. Google Ads
 

case £88 LARA IEP2 HN BACNET Rg led dz 29, PAUPAB GAD. o606

U.S. Department of Justice

 

United States Attorney
District of New Jersey

 

2016R00418
970 Broad Street, 7" floor 973-645-2700

Newark, New Jersey 07102

June 18, 2019

Michael Dixon, Deputy Clerk
United States District Court
Martin Luther King, Jr.
Federal Building & Courthouse
50 Walnut Street

Newark, New Jersey 07102

Re: U.S. v. Carey Peterson
Crim No. 16cr00230

Dear Mr. Dixon:

Please be advised that the above matter has been completed to the
defendant Carey Lee Peterson. Kindly cancel the Court’s Recognizance related
to Document #19 on the docket, for the amount of $200,000, filed June 6,

2016, as soon as possible.

Thank you.

Very truly yours,

   
 

CRAIG CARPENIT:
United States, rney

By” Ari
Assistant U.S. Attorney
 
 

Case 14939y-03662-UNA Document 3 Filed 12/02/19 ,,pepe@S-pf 27

AA @ ecf.njd.uscourts.gov CG

 

public terminal or purchased through the
Court Reporter/Transcriber only. (jmh)

 

169 06/28/2019 Transcript of PLEA HEARING
as to CARY LEE PETERSON held on
01/09/2019, before Judge ANNE E.
THOMPSON. Court Reporter/Transcriber
Kimberly Stillman, ESR (609-989-2021).
Transcript may be viewed at the court
public terminal or purchased through the
Court Reporter/Transcriber only. (jmh)

 

170 06/28/2019 Transcript of SENTENCING as
to CARY LEE PETERSON held on
05/10/2019, before Judge ANNE E.
THOMPSON. Court Reporter/Transcriber
Kimberly Stillman, ESR (609-989-2021).
Transcript may be viewed at the court
public terminal or purchased through the
Court Reporter/Transcriber only. (jmh)

 

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07/30/2019 Notice by U.S. Attorney's Office
requesting cancellation of Recognizance
Number Document 19, as to CARY LEE
PETERSON,, in the amount of 200,000.
(FONTECCHIO, ARI)

 

09/17/2019 Recognizance Number entered
06/07/2016 as to CARY LEE PETERSON
has been cancelled (Finance Notified). (km)

 

 

 

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SETON HALL | LAW

In the Spotlight

 

 

The Honorable Michael Chagares '87 to Receive the
Distinguished Graduate Award at 2017 Alumni Gala

 

Seton Hall Law is pleased to bestow on The Honorable Michael Chagares ‘87 the Distinguished
Graduate Award, to be presented at the 2017 Alumni Gala. Judge Chagares has served as a Judge of
the United States Court of Appeals for the Third Circuit since 2006 and reflecting on his continued
commitment to the Law School, has been an adjunct faculty member since 1991.

Judge Chagares credits a constitutional law course during his undergraduate studies at Gettysburg
College for his interest in attending law school, and recalls Seton Hall Law as having “an excellent
reputation as an educational institution, not to mention a terrific network In New Jersey.”

He graduated with honors and went on to clerk with The Honorable Morton I. Greenberg, U.S.C,J.
Coming full circle, Judge Chagares now occupies the same seat Judge Greenberg previously held.

“| remember thinking when | clerked for Judge Greenberg, that this would be a wonderful job,”
remembers Chagares.

Reflecting on his 30 years of making a vocation out of his career, Judge Chagares says, “I view law as
a helping profession. Serving and representing the public has always been important to me. | enjoy
being part of the greatest justice system in the world.”

Judge Chagares believes it is particularly important to encourage young lawyers and law students to
pursue pro bono representations.

“Everyone wins when you take on a pro bono matter,” explains Chagares. “The indigent client gets a
zealous advocate, and the attorney gains the opportunity both to help a person in need and to
hone her skills.”
 

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As the Chair of the Working Group on Immigrant Representation in New Jersey, he has worked
closely with fellow Seton Hall Law professor, Lori Nessel, on improving representation of individuals
in the immigration system.

Married to a fellow Seton Hall Law alurnna Peggy Meade Chagares ‘92, with whom they have four
children, Judge Chagares is deeply moved by receiving this year's Distinguished Graduate Award.

“Seton Hall Law School has been an important part of my life since | first walked through its doors
in 1984,” says Chagares. “t feel incredibly honored to be recognized this way by this great institution,
for which | have such gratitude and respect.”

Prior to taking the bench, Judge Chagares was a partner in the law firm of Cole, Schotz, Meisel,
Forman & Leonard, P.A. He served as an Assistant U.S. Attorney in the U.S. Attorney's Office in
Newark from 1990-2004 and rose to Chief of the Civil Division in 1999. Judge Chagares has served
on the boards of the Association of the Federal Bar, the New Jersey Lawyer Newspaper, the
Historical Society of the U.S. District Court, and A Future With Hope. He is a former chair of the New
Jersey State Bar Association's Federal Practice and Procedure Section. He is also the Chair of the
Case Management/Electronic Case Files Subcommittee of the Standing Committee on Rules of
Practice and Procedure of the Judicial Conference and is a member of the Appellate Rules Advisory
Committee.
 

 

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Former federal prosecutor lands position at Seton Hall

Updated Jan 16, 2019;
Posted Mar 16, 2017

Comment

By Ted Sherman | NJ Advance Media for NJ.com

 

NEWARK--Fired a week ago, Paul Fishman is still cleaning out his office.

The former U.S. Attorney for New Jersey, whose tenure came to an abrupt end last Friday when Attorney
General Jeff Sessions ordered all 46 U.S. attorneys who remained as holdover appointments from the
Obama administration to immediately resign, has more than seven years of memories to take off his walls.

 

 

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On Thursday, meanwhile, he landed a new position, named as a Distinguished Visiting Fellow by Seton Hall
School of Law, where he will have an office and serve as a resource to students.

"Access to someone with Mr. Fishman's experience is a rare opportunity for those interested in public
service careers, the practice of criminal law, or the compliance profession," Dean Kathleen Boozang said.

"He is already well known among students who have interned in the U.S. Attorney's Office as a fabulous
mentor who impresses upon them their duty of practicing law with integrity and a commitment to fairness

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said.

Fishman will guest lecture in classes, meet with students, and serve as a keynote speaker in Seton Hall
Law's healthcare compliance program.

Fishman has a lot to talk about. He green-lighted the infamous Bridgegate investigation and prosecuted a
series of other high-profile New Jersey political corruption cases. There were international cybercrime
indictments involving Russian hackers and millions in pilfered accounts. There were major civil rights
cases, including a settlement with the city of Newark over the way the state's largest police department
operates. And the Real Housewives of New Jersey tax fraud case.

 

But far less known, perhaps, may be Fishman's behind-the-scenes work on prisoner re-entry programs in
Newark through his office.

"I've been pretty passionate about it," admitted the 60-year-old Montclair resident who spent more than a
decade working for the U.S. Attorney's office and later at the Justice Department--a lifetime before
returning to become the highest-ranking federal law enforcement official in New Jersey.

The program he helped start, known as "ReNew" court, is a partnership among the U.S. District Court, the
U.S. Attorney's office, the Federal Public Defender's Office, and the U.S. Probation Office, aimed at helping
recently released ex-offenders return to life on the outside.

"| think we all recognize that the people that many of the people we prosecute deserve terms of
incarceration for what they did. But 95 percent of those going in are coming out again," Fishman
remarked.

White collar criminals often have some means at their disposal, making readjustment to life outside of
prison less difficult than others.

"We have people who have handled drugs, carried firearms and been in gangs since they were teenagers,
 

and they have no WerR@tpeHiEKOQSEP Fite Arab hg SPAntte dalled d Addo TRaBe ig VeFfious risk that if

they don't get some handles to hold, they will lapse back into their old lives."

The response was a bi-weekly series of meetings in a courtroom on the second floor of the Martin Luther
King Jr. Federal Courthouse in Newark, where Judge Madeline Cox Arleo gets together with prosecutors,

members of the defense bar, and a dozen people or more who recently left prison. They are asked about

their children, or a new apartment, or if they need help printing a resume or the assistance of a lawyer to
help set up a re-payment plan so they could get back their driver's licenses.

 

Re-entry programs, which have been adopted by more than half of the U.S. Attorneys’ offices across the
country, aimed to cut the recidivism rate.

"It's a way of doing real crime prevention,” said Fishman. "They have a real chance--if they have a job, a
place to live--to become productive members of society again."

While leaving the U.S. Attorney's office, Fishman said he intends to stay involved in the program. "We've
graduated 30 people. Not one has gone back in," he said. "That's gratifying to us and really meaningful to
them."

Life in the private sector
What comes next for Fishman himself, meanwhile, is still a work in progress.

Fast-talking and quick-witted (he kept a mini-fridge in his conference room full of Diet Coke, stocking it up
each week with cases he would bring in), he has no immediate plans. Once a prominent defense attorney,
he has yet to join a new law firm and would be prohibited for a time appearing in court on cases involving
his former office.

But even before the unceremonious way he and other U.S. attorneys were told to leave, Fishman said he
knew he time was limited after Donald Trump was elected, although he expected to stay on for a transition
period until a successor was nominated. A political appointee of the president, he said he also had not
 

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He looked back for a moment at a scorecard for what was done under his watch, calling it a satisfying run.

"{ don't know that anybody has taken a look at all the really great cases that's been done during my
tenure,” he mused. "The office has done some extraordinary work across the board in every area we
cover."

He mentioned the most well-known of the corruption trials handled by his office, the conviction of two
former members of Gov. Chris Christie's inner circle in the Bridgegate scandal.

 

The case involved the 2013 shutdown of local toll lanes at the George Washington Bridge in a scheme of
political retaliation had targeted the mayor of Fort Lee for not endorsing the governor for re-election. It
significance, he said, was that it was important that people understand that when public officials use their
authority and power for a purpose that has nothing to do with good government, it's a betrayal of the
public trust.

At the same time, he acknowledged his disappointment with the punishment meted out to former Port

Authority chairman David Samson, who was sentenced to a year of home confinement after shaking down
United Airlines to get a more convenient non-stop flight to his country estate in South Carolina.

 

 
 

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"| think for someone like David Samson, getting a sentence of probation sends precisely the wrong
message," he said. "It thought it was particularly bad because the crime was so audacious."

As for the public criticism that the federal investigation stopped short of others in the governor's office
who might have shared responsibility, Fishman said he understood the emotion, but defended the
decision.

"Any time the prosecutor's office doesn't go up high enough, the public is disappointed,” he said, pointing
in particular to the enforcement actions taken against Wall Street that never led to indictments of those
ultimately in charge. "But not everything people do that is unseemly or unethical is punishable by criminal

law.

He spoke as well about his office's role in prosecuting violations of export controls involving foreign
adversaries, of large-scale Medicaid fraud cases and of its outreach to the Arab Muslim, black and LGBT
communities.

"We have really made a difference in virtually every area in which we have criminal jurisdiction,” Fishman
said.

 

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Facebook: @TedSherman.reporter. Find NJ.com on Facebook.

 

 

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SETON HALL | LAW

In the Spotlight

 

 

Brian Martinotti ‘86 Confirmed to Federal Bench

Dean Boozang calls his achievement “a fitting capstone for a Seton Hall Law alum who has
dedicated himself to public service."

 

On July 6, the U.S. Senate confirmed Superior Court Judge Brian Martinotti ‘86 to the U.S. District
Court for the District of New Jersey.

The appointment recognizes Judge Martinotti’s 14-year tenure on the New Jersey Superior Court,
where he ruled on cases in the Civil Division as one of three multi-county litigation judges who
handled mass torts and assigned the special environmental, affordable housing, and family law
dockets. Previously, Judge Martinotti was a council member for the Borough of Cliffside Park, while
he also worked in private practice at the law firm, Beattie Padovano, LLC in Montvale. He also
served in other towns as a municipal public defender, prosecutor and tax attorney. Judge Martinotti
ljaunched his legal career by clerking for the Hon. Roger M. Kahn in New Jersey's Tax Court.

“Judge Martinotti’s appointment to the federal bench is a fitting capstone for a Seton Hall Law alum
who has dedicated himself to public service,” said Kathleen M. Boozang, Dean and Professor of Law.
“Like his fellow alums John Vasquez ‘96, who was appointed to the U.S. District Court for the District
of New Jersey earlier this year, and Walter Timpone ‘79, who was just sworn in as a Justice for the
New Jersey State Supreme Court, Judge Martinotti reflects the finest qualities of the Seton Hall
lawyer. We are proud of his accomplishment and know he will be successful in his new
appointment.”
